Case 17-24553-GLT          Doc 45     Filed 05/29/18 Entered 05/29/18 17:17:50                 Desc Main
                                      Document     Page 1 of 1
                           IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE:                                                            Case No. 17-24553-GLT

Stassen Henderson                                                 Chapter 7
        Debtor
                                                                  Doc. No.:

Stassen Henderson                                                 Related to Doc. No.:
        Movant
                                                                  Hearing Date: 7/12/18 at 10:30 A.M.
         v.

Cincinnati Insurance Company, a/s/o
Frederick Sams, D.M.D.,
        Respondent

                  NOTICE OF HEARING WITH RESPONSE DEADLINE REGARDING
                            MOTION TO AVOID JUDGEMENT LIEN

TO THE RESPONDENT(S):

         You are hereby notified that the above Movant seeks an order affecting your rights or property.

        You are further notified to file with the Clerk and serve upon the undersigned attorney for Movant a
response to the motion no later than June 15, 2018 i.e. seventeen (17) days after the date of service below, in
accordance with the Federal Rules of Bankruptcy Procedure, Local Rules and Procedures of this Court, and the
procedures of the Presiding Judge as found on the Judge’s web page at www.pawb.uscourts.gov. If you fail to
timely respond, the Motion may be granted by the court by default without a hearing.

         You should take this to your lawyer at once.

        A hearing will be held on July 12, 2018, at 10:30 A.M. before Judge Gregory L. Taddonio in Court
Room A, 54th Floor, U.S. Steel Tower, 600 Grant Street, Pittsburgh, PA 15219. Only a limited time of 10
minutes is being provided on the calendar. No witnesses will be heard. If there is an issue of fact, an
evidentiary hearing will be scheduled at a later date by the Court. An order granting the relief sought may be
entered and the hearing may not be held if you do not timely file and serve a written response.




Date of service: May 29, 2018                                     Respectfully submitted by:
                                                                  /s/ Albert G. Reese, Jr., Esquire
                                                                  Albert G. Reese, Jr., Esq.
                                                                  Law Office of Albert G. Reese
                                                                  PA ID #93813
                                                                  640 Rodi Road, 2nd FL., Suite 2
                                                                  Pittsburgh, PA 15235
                                                                  (412) 241-1697(P)
                                                                  (412) 241-1687(F)
                                                                  areese8897@aol.com
                                                                  Attorney for Debtor
